Case 21-03004-sgj Doc 20 Filed 04/13/21   Entered 04/13/21 17:03:13   Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

In re                                     §
                                          §
                                                         Chapter 11
HIGHLAND CAPITAL MANAGEMENT,              §
L.P.,                                     §
                                                   Case No. 19-34054-sgj11
                                          §
        Debtor.                           §
                                          §
HIGHLAND CAPITAL MANAGEMENT,              §
L.P.,                                     §
                                          §
        Plaintiff,                        §
                                          §
                                                      Adv. No. 21-03004
v.                                        §
                                          §
HIGHLAND CAPITAL MANAGEMENT               §
FUND ADVISORS, L.P.                       §
                                          §
        Defendant.                        §

             DEFENDANT’S MOTION TO WITHDRAW THE REFERENCE


                              Davor Rukavina, Esq.
                             Texas Bar No. 24030781
                              Julian P. Vasek, Esq.
                             Texas Bar No. 24070790
                      MUNSCH HARDT KOPF & HARR, P.C.
                          500 N. Akard Street, Ste. 3800
                            Dallas, Texas 75202-2790
                           Telephone: (214) 855-7500
                            Facsimile: (214) 978-4375

                      COUNSEL FOR HIGHLAND CAPITAL
                      MANAGEMENT FUND ADVISORS, L.P.
 Case 21-03004-sgj Doc 20 Filed 04/13/21           Entered 04/13/21 17:03:13        Page 2 of 3




              DEFENDANT’S MOTION TO WITHDRAW THE REFERENCE

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        COMES NOW Highland Capital Management Fund Advisors, L.P., the defendant (the

“Defendant”) in the above styled and numbered adversary proceeding (the “Adversary

Proceeding”), and files this its Defendant’s Motion to Withdraw the Reference (the “Motion”),

respectfully stating as follows:

        This Adversary Proceeding was automatically referred to the Bankruptcy Court pursuant

to 28 U.S.C. § 157(a) and District Court Miscellaneous Order No. 33, Order of Reference of

Bankruptcy Cases and Proceedings Nunc Pro Tunc.

        Pursuant to 28 U.S.C. § 157(d), and for the reasons given in the accompanying Brief in

Support of the Defendant’s Motion to Withdraw the Reference, as supported by the Appendix In

Support of Defendant’s Motion to Withdraw the Reference, filed contemporaneously herewith and

all of which is incorporated herein by reference, the Defendant requests that the Court withdraw

from the Bankruptcy Court the reference (i.e., the referral) of the Adversary Proceeding, in which

case the Adversary Proceeding will continue as a Civil Action in the District Court.

        WHEREFORE, PREMISES CONSIDERED, the Defendant respectfully requests that the

District Court enter an order: (i) granting the Motion; (ii) withdrawing from the Bankruptcy Court

the reference of this Adversary Proceeding; and (iii) granting the Defendant such other and further

relief to which it shows itself to be entitled.




DEFENDANT’S MOTION TO WITHDRAW THE REFERENCE—Page 1
  Case 21-03004-sgj Doc 20 Filed 04/13/21          Entered 04/13/21 17:03:13         Page 3 of 3




         RESPECTFULLY SUBMITTED this 13th day of April, 2021.

                                              MUNSCH HARDT KOPF & HARR, P.C.

                                              By: /s/ Davor Rukavina
                                                   Davor Rukavina, Esq.
                                                   Texas Bar No. 24030781
                                                   Julian P. Vasek, Esq.
                                                   Texas Bar No. 24070790
                                                   3800 Ross Tower
                                                   500 N. Akard Street
                                                   Dallas, Texas 75201-6659
                                                   Telephone: (214) 855-7500
                                                   Facsimile: (214) 855-7584
                                                    Email: drukavina@munsch.com

                                              COUNSEL FOR HIGHLAND CAPITAL
                                              MANAGEMENT FUND ADVISORS, L.P.




                                 CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that he discussed the relief requested herein with Jeff
Pomerantz, Esq., counsel for record for the Plaintiff, who informed the undersigned that the
Plaintiff opposes said relief.
                                            /s/ Davor Rukavina
                                            Davor Rukavina




                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this the 13th day of April, 2021, true and correct
copies of this document were electronically served by the Court’s ECF system on parties entitled
to notice thereof, including on the Plaintiff through its counsel of record.

                                              /s/ Davor Rukavina
                                              Davor Rukavina




DEFENDANT’S MOTION TO WITHDRAW THE REFERENCE—Page 2
4817-4810-5189v.1 019717.00001
